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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                   Case No. 19-23131-Civ-SCOLA/LOUIS

  EQUAL EMPLOYMENT
  OPPORTUNITY COMMISSION

           Plaintiff,
  &

  LOUISE DAVIDSON-SCHMICH,

           Plaintiff-Intervenor,
  vs.

  UNIVERSITY OF MIAMI,

        Defendant.
  ________________________________/

        PLAINTIFF EEOC’S STATEMENT OF MATERIAL FACTS IN SUPPORT OF ITS
                    MOTION FOR PARTIAL SUMMARY JUDGMENT

           Pursuant to Federal Rule of Civil Procedure 56 and Southern District of Florida Local
  Rule 56.1(a), Plaintiff U.S. Equal Employment Opportunity Commission (“EEOC”) hereby
  submits its Statement of Material Facts.


        1. Dr. Louise Davidson-Schmich (“Davidson-Schmich”) was hired by Defendant University
  of Miami (“Defendant”) as a tenure-track Assistant Professor of Political Science in 2000. ECF
  No.78-1, at UM/EEOC-D.SCHMICH 2855.
        2. On May 14, 2018, Davidson-Schmich received an email circulated by Dr. Jonathan West,
  Chair of the Political Science department that disclosed annual salaries for several faculty of the
  department, including Dr. Gregory Koger. ECF No.78-2, at DAVIDSON-SCHMICH0015.
        3. This was the first time that Davidson-Schmich learned of Dr. Koger’s salary, and that of
  other Political Science faculty. ECF No. 78-3, Louise Davidson-Schmich Dep. (“LDS”) 134:4-
  135:9.
        4. Prior to receiving Dr. West’s May 2018 email, Davidson-Schmich did not know the
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  salary of anyone else within the Political Science department because as a private university,
  salaries of Defendant’s faculty are not public and it is not considered appropriate to discuss
  salaries with others. ECF No. 78-3, LDS 95:18-96:12.
     5. Davidson-Schmich filed a Charge of Discrimination (“Charge”) with the EEOC on June
  5, 2018. ECF No. 78-4, at EEOC0000179.
     6. Davidson-Schmich alleged that she was being paid less for equal work as a male
  comparator within her department who had been promoted at the same time. Id.
     7. EEOC notified Defendant of Davidson-Schmich’s Charge on June 8, 2018. ECF No. 78-
  5, at EEOC0001141.
     8. EEOC conducted an investigation into Dr. Davidson-Schmich’s Charge, including
  receiving a written position statement from Defendant, a written rebuttal to the position
  statement from Dr. Davidson-Schmich, making requests for information (“RFIs”), and
  conducting interviews. ECF No. 78-6, Latasha Shamese Nelson Dep. (“Nelson”) 58:12-59:12.
     9. EEOC conducted a pre-determination interview (“PDI”) with Defendant on March 4,
  2019. ECF No. 78-7, at EEOC0002803.
     10. In general, a pre-determination interview is a telephone interview that occurs before there
  is a finding against a party, whether the finding is of no cause for the charging party or a finding
  of reasonable cause against the employer. ECF No. 78-8, Brandi Meredith Dep. (“Meredith”)
  132:7-18. During this interview, the EEOC investigator generally explains the finding and
  recommendation that will be made and offers the party the chance to provide additional
  information, if they so desire. Id.
     11. Following EEOC’s administrative investigation, EEOC issued a Letter of Determination
  on March 5, 2019. ECF No. 78-9, at EEOC0002814. EEOC found reasonable cause to believe
  that Defendant violated Title VII of the Civil Rights Act of 1964 and the Equal Pay Act of 1963
  by paying her less than male co-workers who performed substantially similar work. Id. In the
  Letter of Determination, EEOC invited the parties to engage in a conciliation process to
  voluntarily remedy the violations at issue. Id.
     12. Defendant admits in its Answer to EEOC’s Complaint that it received the March 5, 2019
  Letter of Determination and that it provided a written response to EEOC dated March 20, 2019.
  ECF No. 28, at 2-3, ¶¶ 14-16, and at 7, Aff. Def. ¶1. Defendant’s Answer also stated that there
  was “overwhelming and unrebutted documentary evidence demonstrating that no violations of
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  the Equal Pay Act or Title VII ever occurred” and calls the EEOC’s findings “inaccurate, flawed
  and biased.” Id.
        13. Prior to the March 20 response, Defendant had also exchanged emails with EEOC on
  March 19, 2019 concerning conciliation. ECF No. 78-10, Declaration of Latasha Shamese
  Nelson, ¶¶ 4-6; ECF No. 78-11, EEOC Privilege Log, at 8.
        14. The invitation to conciliate that was included in the Letter of Determination, and the
  communications exchanged with Defendant about conciliation on March 19 and March 20, 2019,
  constituted the EEOC’s efforts to attempt to engage in discussions with Defendant about
  conciliating the claims described in the Letter of Determination. ECF No. 78-10, Nelson Decl.,
  ¶7.
        15. Following Defendant’s March 20, 2019 letter to EEOC, EEOC determined that efforts to
  conciliate the Charge were unsuccessful and notified the parties that conciliation had failed
  pursuant to 29 C.F.R. § 1601.25. ECF No. 78-12, at EEOC0002807; ECF No. 78-10, Nelson
  Decl., ¶8.
        16. On July 29, 2019, EEOC initiated this action under Title VII of the Civil Rights Act of
  1964, Title I of the Civil Rights Act of 1991, and the Equal Pay Act of 1963. ECF No. 1. EEOC
  alleged that Defendant discriminated against Davidson-Schmich by paying her less than a male
  counterpart for performing equal and/or similar work. Id.
        17. EEOC’s allegations in this suit mirror those included in the Letter of Determination.
  ECF No. 1; ECF No. 78-9, at EEOC0002814.
        18. Davidson-Schmich intervened in this action on October 2, 2019 and filed a Complaint
  bringing the same allegations as EEOC’s Complaint. ECF No. 13.
        19. Defendant filed an Answer and Affirmative Defenses in response to EEOC’s Complaint
  and to Plaintiff-Intervenor’s Complaint. ECF Nos. 28, 29.
        20. Davidson-Schmich has been continuously employed by Defendant since 2000 and
  continues to be employed by Defendant. ECF No. 78-13, Davidson-Schmich CV, at
  DAVIDSON-SCHMICH00274.
        21. Since 2018, Davidson-Schmich submitted six applications to other universities for
  positions as a Professor of Political Science in the United States (and its equivalent position in
  German universities). ECF No. 78-14, Davidson-Schmich Interrog. Resp. April 6, 2021, at 3.
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  Dated: April 19, 2021              Respectfully submitted,
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